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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

                                                    :
JAKUB MADEJ                                         :
                                                    :       CIVIL ACTION NO.
                       PLAINTIFF                    :       3:20-cv-00133-JCH
                                                    :
v.                                                  :
                                                    :
YALE UNIVERSITY, MARVIN CHUN,                       :
MARK SCHENKER, PETER SALOVEY AND                    :
JESSIE ROYCE HILL                                   :
                                                    :
                       DEFENDANTS                   :
                                                    :       JANUARY 7, 2021

                                RE-NOTICE OF DEPOSITION

       PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil Procedure,

the defendants will take the deposition of the plaintiff, Jakub Madej, before Del Vecchio

Reporting Services, LLC, 117 Randi Drive, Madison, CT 06443, 203-245-9583. Said deposition

will be taken on Tuesday, February 16, 2021, at 9:30 a.m., remotely via Zoom

videoconferencing. The defendants have retained Court Reporter Vicki Hennessey, through Del

Vecchio Reporting Services, LLC, to serve as the officer at the deposition, administer the oath,

and record the deposition stenographically. Del Vecchio Reporting Services, LLC has confirmed

that it will provide the foregoing services for the February 16, 2021 deposition of the plaintiff,

Jakub Madej.

       You are invited to attend and cross-examine. All participants will be sent the Zoom link and

information prior to the deposition.
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                                                THE DEFENDANTS,

                                                YALE UNIVERSITY, MARVIN CHUN, MARK
                                                SCHENKER, PETER SALOVEY AND JESSIE
                                                ROYCE HILL


                                          By:                 /s/
                                                PATRICK M. NOONAN – CT00189
                                                COLLEEN NOONAN DAVIS – CT27773
                                                DONAHUE, DURHAM & NOONAN, P.C.
                                                Concept Park
                                                741 Boston Post Road, Suite 306
                                                Guilford, CT 06437
                                                Telephone: (203) 458-9168
                                                Fax: (203) 458-4424
                                                Email: pnoonan@ddnctlaw.com


                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was sent via
email to:

Jakub Madej
j.madej@lawsheet.com

Del Vecchio Reporting Services, LLC
delvecchiorptg@aol.com


                                                      _______________/s/________________
                                                             Patrick M. Noonan




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